              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No. 20-CV-954

FARHAD AZIMA,

      Plaintiff,
                                         PLAINTIFF’S RESPONSE
      v.                                   IN OPPOSITION TO
                                        DEFENDANTS’ MOTION TO
NICHOLAS DEL ROSSO and VITAL               SEAL (ECF NO. 158)
MANAGEMENT SERVICES, INC.,

      Defendants.


     In support of their Opposition to Plaintiff’s Motion to Compel,

Defendants filed hundreds of pages of exhibits, which they now seek to

seal, that have nothing to do with the merits of Plaintiff’s Motion. See

ECF No. 158; see also ECF Nos. 159-8, 160. These documents should be

stricken from the public docket as irrelevant, and the Motion to Seal

should be denied.

     Plaintiff’s Motion to Compel requests that the Court hold

Defendants to their discovery obligations to produce relevant, non-

privileged   documents    responsive   to   Plaintiff’s   long-outstanding

document requests. Halfway through discovery, Defendants have not

produced a single document, other than Plaintiff’s own hacked data.

     Defendants’ Motion to Seal is just the most recent effort by

Defendants to obstruct and delay discovery. Defendants flout the rules



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of discovery by attaching hundreds of pages of documents to their

Opposition that are responsive to Plaintiff’s discovery requests but that

Defendants have failed to produce during discovery. Now, Defendants

burden the Court with a motion to seal the very documents they should

have turned over to Plaintiff long ago, and which they have no basis to

seal. Defendants should be admonished not to use the judicial process to

engage in gamesmanship, and the Court should strike the documents

from the public record.

                              ARGUMENT

     As an initial matter, the documents Defendants seek to seal are

irrelevant to Plaintiff’s Motion and should be stricken from the docket

pursuant to this Court’s local rules. See Local Civ. R. 5.4(c)(4) (permitting

the party objecting to sealing to make “contention[s] that the items to be

sealed are irrelevant or should be stricken rather than unsealed.”).

Plaintiff’s Motion seeks to compel production of relevant, non-privileged

documents in this case. The documents Defendants attached to their

Opposition do not support, or even relate in any way, to the legal

arguments in their brief as to why they have failed to meet their

discovery obligations. Defendants’ response contains a five-page

narrative that has nothing to do with Plaintiff’s Motion to Compel and

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over 200 pages of exhibits that do not begin to address even one issue

presented in Plaintiff’s Motion. Indeed, Defendants had no valid basis to

file those exhibits other than to distract the Court from the core issue

before it – Defendants’ stonewalling of all discovery in this case – and the

Court should therefore strike them from the docket as Local Rule 5.4

permits. See id.

     Even if the documents were relevant, there is no basis to seal them.

Courts disfavor sealing of documents.      See Local Civ. R. 5.4 (noting

sealing is disfavored); see also Stone v. Univ. of Md. Med. Sys. Corp., 855

F.2d 178, 180 (4th Cir. 1988) (“The common law presumes a right to

inspect and copy judicial records and documents.”). “The party seeking

to overcome the presumption [must show] some significant interest that

outweighs the presumption.” Virginia Dep’t of State Police v. Wash. Post,

386 F.3d 567, 575 (4th Cir. 2004) (cleaned up). Defendants have failed to

show a significant interest favoring sealing here.

     Once again, Defendants attempt to shield themselves from open

discovery in this case by making a baseless confidentiality claim.

Plaintiff has, for months, raised concerns regarding Defendants’ overuse

of confidentiality to withhold documents and gum up this litigation. See,

e.g., ECF No. 112, Pl.’s Resp. to Defs.’ Mot. for Entry of Confidentiality

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Protective Order at 1 (“Since the start of discovery, Defendants have

made clear that they intend to designate essentially everything produced

in this litigation as confidential, resulting in significant expense and

waste of judicial resources.”); ECF No. 163, Pl.’s Reply in Supp. Pl.’s Mot.

to Compel at 8-9 (addressing Defendants’ position that they cannot

produce documents until a confidentiality order is formally entered

because they have “zero non-confidential, responsive documents in their

own files”).

      The Local Rules disfavor filing unsupported or overly broad motions

to seal, and the Court may issue sanctions for improper sealing efforts.

See Local Civ. R. 5.4(a)(4).      Plaintiff requests that the Court strike

Defendants’ irrelevant exhibits from the docket and consider sanctions

for the cost Plaintiff has incurred to prepare and file this opposition to

Defendants’ Motion to Seal.*



      *
       Every motion to seal in this action has been related to information that
Defendants want to keep private. See ECF No. 99 (Defendants’ Motion to Seal
sensitive medical information); ECF No. 108 (Plaintiff’s Motion to Seal
sensitive information relating to Defendant Del Rosso); ECF No. 129 at 2
(Plaintiff’s Memorandum in Support Motion to Seal financial information
Defendants’ bank records even though “[he] disagrees that the records are
confidential or should be subject to the protective order”); ECF No. 158 (the at-
issue Motion to Seal relating to the exhibits to Defendants’ Opposition to
Plaintiff’s Motion to Compel); ECF Nos. 164, 168, 173 (Plaintiff’s Motions to
Seal exhibits containing excerpts of Mr. Del Rosso’s deposition transcript,
which Defendants wanted to keep fully confidential for 30 days).
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                            CONCLUSION

     For the foregoing reasons, the Court should reject Defendants’

Motion to Seal and strike the above-referenced documents from the

public docket.

     This, the 23d day of February, 2023.

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                    CERTIFICATE OF WORD COUNT
      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This Response brief contains fewer than 6,250 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.


                                /s/ Ripley Rand
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                                Counsel for Plaintiff




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            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  CASE NO. 20-CV-954-WO-JLW

FARHAD AZIMA,

       Plaintiff,

       v.
                                            CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and
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INC.,

       Defendants.

      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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